Case 5:24-cv-12647-JEL-KGA ECF No. 44, PagelD.971 Filed 12/06/24 Page1of5

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN L (=
SOUTHERn DIVISIOn

DEC -6 2024
DERRICK LEE CARDELLO-SMITH, #267009, ee eOETRO
Plaintiff,
Vs Case no 2:24-cv-12647
SEAn COMBS, Hon. Judith Levy

Defendant,

NOTICE OF PLAINTIFFS SUBMISSION OF MATERIAL WITNESSES
JENNIFER LYNN LOPEZ a/k/a/"(J-LO)"a/k/a “Jenny From The Block"
KIRK BURROWS, FORMER EMPLOYEE OF DEFENDANT COMBS IN 1997,AND
DERRICK PALMER, NEW YORK POLICE OFFICER AWARE OF DEFENDANTS
CRIMINAL ACTIVITY WILL BE CALLED AS MATERIAL WITNESSES AND EXPERTS
TO SEAN COMBS VIEWING, POSSESSION, AND DISTRIBUTION OF
HIS SEXUAL ASSAULT UPON THE PLAINTIFF IN 1997 AND THE
ORDERS OF DEFENDANT SEAN COMBS FORCING JENNIFER LOPEZ TO REMAIN
SILENT ABOUT THE VIDEO TAPED SEXUAL ASSAULT OF PLAINTIFF BY DEFENDANT

Please take notice that Plaintiff, Derrick Lee Cardello-
Smith hereby places the Court and Defendants Attorney on
Notice that the Plaintiff is submitting the Material witness
of JENNIFER LYNN LOPEZ, J-LO), JENNY FROM THE BLOCK as a
material witness to the Following events and will call
Jennifer Lopez as a Witness to the Events described herein to
testify in this matter--

Between the Time Period of January 1, 1999 through December
31, 2021, She was Forced to View, Watch, Hear, see, and
observe the Defendants Sexual Assault of this Plaintiff by
Case 5:24-cv-12647-JEL-KGA ECF No. 44, PagelD.972 Filed 12/06/24 Page 2 of5

Defendant Sean Combs in the 1997 Incident Described and
outlined within the Complaint now before this Court."

Plaintiff states that the Material witness JENNIFER LYNN
LOPEZ also known as J~LO and JENNY FROM THE BLOCK was engaged
in a relationship with the Defendant Sean Combs during 1999
and 2001, and that the Sexual Assault of the Plaintiff was
recorded, distributed and held by the Defendant at his New
York Residence and Recording Studio and During’ the
Relationship with Jennifer Lopez, She was made privy to this
Video that was taken by Sean Combs and his Employee Kirk
Burrows, and that during the time of the rape by defendant
upon this plaintiff, Mr. Kirk burrows, was in full attendance
of the Drugging, Beating and Sexual Assault of the Plaintiff
by Defendant Combs and that she (J-LO) has known this Video
Existed and was in existence and took no action to make it
known to anyone in law enforcement and that she was even
questioned by New York Police Detective DERRICK PARKER about
this matter and that the report will show that he answers to
this Tape was and still remains, as resounding YES, to its
existence, and Plaintiff even further states that the Persons
named as Material Witnesses to the rape of this Plaintiff by
defendant, the keeping of the Video of the Rape of this
Plaintiff by defendant, the witness Jennifer Lynn Lopez being
forced to remain quiet about this type detailing the horrible
rape of this Plaintiff by the Defendant, and doing so under
pressure and her own victimization by Defendant Sean Combs.

Plaintiff intends to call Mr. Kirk Burrows as a witness in
this matter because not only was he in attendance with then
Plaintiff was Drugged, Beaten and Raped by defendant Sean
Combs, he actually recorded the assault and kept the Footage
of the Rape by the Defendant upon this Plaintiff.

Plaintiff will call Officer Derrick Palmer as that he is
familiar with the Questioning or the Witness Jennifer Lopez
and his own referral of this matter to the Detroit Police and
Adrian Police Department, and their failure to follow up on

Case 5:24-cv-12647-JEL-KGA ECF No. 44, PagelD.973 Filed 12/06/24 Page 3 of 5

this matter, and his own history of the criminal patterns of
the Defendant Sean Combs and Jennifer Lopez being a Victim of
Mr. Combs as well.

Plaintiff fully intends to and will call these members of
the Community as that they are material witnesses to the
actions of the Defendant and his Continuing Patter of behavior
and other acts committed upon this Plaintiff,and Plaintiff
Intends to call these named individuals to this Court for
Testimony on these matters and others related to this Sexual
Assault by the Defendant upon the Plaintiff,and submits it to
this Court.

Please let the record reflect this Intent and notify the
Plaintiff the Court has processed it.

Mr. 12-2-24
#267009

E.C. Brooks Correctional Facility

2500 S. Sheridan Drive

Muskegon, MI 49444

Case 5:24-cv-12647-JEL-KGA ECF No. 44, PagelD.974 Filed 12/06/24 Page4of5

Mr. Derrick Lee Cardello-Smith
#267009
E.C. Brooks Correctional Facility
2500 S. Sheridan Drive
Muskegon, MI 49444

12-2-24

Office of the Clerk

United States District Court
231 W. Lafayette Blvd
Detroit, MI 48226

Re: Derrick Lee Cardello-Smith v Sean Combs
Case No 2:24-12647

Dear Clerk:
Enclosed for filing in the above cause the following documents:

1. PLAINTIFFS SUBMISSION OF MATERIAL WITNESSES JENNIFER LYNN LOPEZ,
DERRICK PALMER, and KIRK BURROWS in the above cause.
2. PROOF OF SERVICE AT BOTTOM OF PAGE

PROOF OF SERVICE
Service has been made upon the defendants attorney of record by US mail
2-2+24 at their address.

We .
Derrick Lee Cardello-Smith
#267009

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